Case 1:22-cv-01387-GBW            Document 60         Filed 02/07/24     Page 1 of 2 PageID #: 902
   Case 1:22-cv-01387-GBW Document 59 Filed 02/06/24 Page 1 of 2 PagelD #: 900




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  ACADIA PHARMACEUTICALS INC.,                        )
                                                      )
                         Plaintiff,                   )
                                                      )   C.A. No. 22-1387-GBW
            V.                                        )
                                                      )     CONSOLIDATED
  AUROBINDO PHARMA LIMITED, et al.                    )
                                                      )
                         Defendants.                  )

                      STIPULATION TO AMEND SCHEDULING ORDER

           IT IS HEREBY STIPULATED by the parties, subject to approval of the Court, that the

  following dates set forth in the Scheduling Order (D.I. 16) shall be amended as shown in the table

  below. All other deadlines, including trial, shall remain unchanged.

                  EVENT                     CURRENT DATE               PROPOSED NEW DATE

    Close of fact discovery                February 8, 2024        March 21 , 2024

   File interim status report              February 22, 2024       March 28, 2024
   Final supplement of infringement        February 29, 2024       April 4, 2024
   contentions
   Final invalidity contentions            March 14, 2024          April 18, 2024
   Opening Expert                          April 4, 2024           May 2, 2024
   Rebuttal Expert                         May 9, 2024             June 6, 2024
   Reply Reports                           May 30, 2024            June 27, 2024
   Sur-Reply reports to contradict or      June 20, 2024           July 18, 2024
   rebut arguments on objective indicia
   of non-obviousness, from the party
   with the initial burden of proof
   Close of Expert Discovery               August 2, 2024          August 29, 2024

    Opening Daubert                        August 16, 2024         September 12, 2024

    Opposition Daubert                     August 30, 2024         September 26, 2024

    Reply Daubert                          September 12, 2024      October 3, 2024

    PTO Due                                November 7, 2024        INo Change


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Case 1:22-cv-01387-GBW            Document 60          Filed 02/07/24     Page 2 of 2 PageID #: 903
  Case 1:22-cv-01387-GBW Document 59 Filed 02/06/24 Page 2 of 2 PagelD #: 901




                   EVENT                     CURRENT DATE               PROPOSED NEW DATE

   Final PTC                                November 14, 2024

   Trial


           The undersigned counsel hereby certify that they provided a copy of this request to their

  clients in compliance with District of Delaware Local Rule 16.4(b).

  Date: February 6, 2024

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